Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 1 of 7 PageID #: 36



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                     CRIMINAL NO. 1:21CR41
                                                  (Judge Keeley)

STEPHEN BRAY,

                  Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 20),
        ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
        AND DIRECTING DEFENDANT’S COUNSEL TO REVIEW STANDARD
     PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

      On September 27, 2021, the defendant, Stephen Bray (“Bray”),

appeared before United States Magistrate Judge Michael J. Aloi and

moved for permission to enter a plea of GUILTY to Count One of the

Information.    After      Bray    stated   that   he     understood   that     the

magistrate    judge   is    not    a    United   States    district    judge,    he

consented to tendering his plea before the magistrate judge.

Previously,    this   Court       had   referred   the    guilty   plea   to    the

magistrate judge for the purposes of administering the allocution

pursuant to Federal Rule of Criminal Procedure 11, making a finding

as to whether the plea was knowingly and voluntarily entered, and

recommending to this Court whether the plea should be accepted.

      Based upon Bray’s statements during the plea hearing and the

government’s proffer establishing that an independent factual basis

for the plea existed, the magistrate judge found that Bray was

competent to enter a plea, that the plea was freely and voluntarily
Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 2 of 7 PageID #: 37



USA v. BRAY                                                        1:21CR41

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 20),
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    PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

given, that he was aware of the nature of the charges against him

and the consequences of his plea, and that a factual basis existed

for the tendered plea. On September 28, 2021, the magistrate judge

entered a Report and Recommendation Concerning Plea of Guilty in

Felony Case (“R&R”) (dkt. no. 20) finding a factual basis for the

plea and recommending that this Court accept Bray’s plea of guilty

to Count One of the Information.

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R. He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R. The parties did not file

any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

ACCEPTS Bray’s guilty plea, and ADJUGES him GUILTY of the crime

charged in Count One of the Information.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until it




                                      2
Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 3 of 7 PageID #: 38



USA v. BRAY                                                         1:21CR41

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 20),
         ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
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      PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

has received and reviewed the presentence report prepared in this

matter.

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

follows:

        1.   The Probation Officer shall undertake a presentence

investigation of Bray, and prepare a presentence report for the

Court;

        2.   The Government and Bray shall provide their versions of

the offense to the probation officer by October 22, 2021;

        3.   The   presentence   report   shall    be   disclosed   to   Bray,

defense counsel, and the United States on or before December 22,

2021;    however,   the   Probation   Officer     shall   not   disclose   any

sentencing recommendations made pursuant to Fed. R. Crim. P.

32(e)(3);

        4.   Counsel may file written objections to the presentence

report on or before January 10, 2022;

        5.   The Office of Probation shall submit the presentence

report with addendum to the Court on or before January 24, 2022;

and


                                      3
Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 4 of 7 PageID #: 39



USA v. BRAY                                                           1:21CR41

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 20),
        ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
        AND DIRECTING DEFENDANT’S COUNSEL TO REVIEW STANDARD
     PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

       6.    Counsel may file any written sentencing statements and

motions for departure from the Sentencing Guidelines, including the

factual basis from the statements or motions, on or before January

24, 2022.

       The magistrate judge remanded Bray to the custody of the

United States Marshal Service.

       The   Court     will   conduct   the    sentencing   hearing   for   the

defendant on February 3, 2022 at 11:00 A.M. at the Clarksburg, West

Virginia point of holding court.              Prior to that hearing, counsel

for Bray shall review with him the revised Standard Probation and

Supervised Release Conditions adopted by this Court on November 29,

2016, pursuant to the Standing Order entered by Chief Judge Groh,

In    Re:    Revised     Standard   Probation      and   Supervised   Release

Conditions, 3:16-MC-56.          A copy of the Standard Probation and

Supervised Release Conditions and Standing Order are attached.

       It is so ORDERED.




                                        4
Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 5 of 7 PageID #: 40



USA v. BRAY                                                        1:21CR41

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 20),
       ACCEPTING GUILTY PLEA, SCHEDULING SENTENCING HEARING
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    PROBATION AND SUPERVISED RELEASE CONDITIONS WITH DEFENDANT

      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

DATED: October 13, 2021


                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




                                      5
Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 6 of 7 PageID #: 41



STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

1.        You must report to the probation office in the federal judicial district where you are authorized to reside within72 hours
          of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
          within a different time frame.1
2.        After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
          how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.        You shall not commit another federal, state or local crime.
4.        You shall not unlawfully possess a controlled substance. You shall refrain from any unlawful use of a controlled substance.
          You shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
          thereafter, as determined by the probation officer.
5.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
          permission from the court or the probation officer.
6.        You must answer truthfully the questions asked by your probation officer.
7.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
          living arrangements (such as the people you live with), you must notify the probation officer at least JO days before the
          change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
          the probation officer within 72 hours of becoming aware of a change or expected change.
8.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
          probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
9.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
          excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
          the probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such
          as your position or your job responsibilities), you must notify the probation officer at least 10 days before the change.
          If notifying the probation officer at least JO days in advance is not possible due to unanticipated circumstances, you must
          notify the probation officer within 72 hours of becoming aware of a change or expected change.
10.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
11.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
12.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
          anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
          such as nunchakus or lasers).
13.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
14.       If the probation officer determines that you pose a risk to another person (including an organization), the probation
          officer may require you to notify the person about the risk and you must comply with that instruction. The probation
          officer may contact the person and confirm that you have notified the person about the risk.
15.       You shall not purchase, possess or consume any organic or synthetic intoxicants, including bath salts, synthetic
          cannabinoids or other designer stimulants.
16.       You shall not frequent places that sell or distribute synthetic cannabinoids or designer stimulants.
17.       Upon reasonable suspicion by the probation officer, you shall submit your person, property, house, residence, vehicle,
          papers, computers, or other electronic communications or data storage devices or media, or office, to a search conducted
          by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You shall warn
          any other occupants that the premises may be subject to searches pursuant to this condition.
18.       You are prohibited from possessing a potentially vicious or dangerous animal or residing with anyone who possesses a
          potentially vicious or dangerous animal. The probation officer has sole authority to determine what animals are considered
          to be potentially vicious or dangerous.
19.       You must follow the instructions of the probation officer related to the conditions of supervision.




           1
             This condition applies to defendants released to the community after a period of imprisonment. For probation cases, the
condition is: You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
of the time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different
time frame.
Case 1:21-cr-00041-IMK-MJA Document 21 Filed 10/13/21 Page 7 of 7 PageID #: 42




                                                            3:16-MC-56
